Case 9:20-cv-01374-GLS-ATB Document 28 Filed 12/08/21 Page1of1

&
ANDREW F. PLASSE & ASSOCIATES LLC
ATTORNEY AT LAW
163-07 Depot Road, Suite 205
Flushing, NY 11358-2056
[212] 695-5811

December 8, 2021
Hon. Andrew T. Baxter, U.S.M.J.
United States Courthouse
PO 7396
Syracuse, NY 13261-7396

RE: Smith v. Mitchell, et. al.
20 CV 1374 [GLS][ATB]

Dear Judge Baxter:

I represent the plaintiff in the above matter. There is a conference scheduled for
December 13, 2021 at 11:00 a.m. I also represent this same plaintiff as a claimant in a Court of
Claims matter. The parties in the Court of Claims case agreed to a Global Settlement of that and
this case prior to the scheduled trial date of November 30, 2021. The Global Settlement includes
the settlement of this action. The State recently provided me with its settlement papers. My client
has agreed to this global settlement but I still need the Release and Medicare affidavit signed
and notarized.

In light of the foregoing, and with the consent of counsel in this case, | would appreciate
it if the Court could kindly adjourn the conference scheduled for next week for four weeks so
that this matter can be finalized. At this point, based on my personal experience with Coxsackie
C.F. where Waddell Smith is incarcerated, it is now taking over three weeks to get official
documents notarized.

Thank you for considering my request.

Respectfully,

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C{A—

ANDREW F. PLASSE
AFP/gjn
Ce: Diane M. Perri Roberts
Kasey Hildonen
